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                          IN THE UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 IN RE:                                          Case No.:        23-42145

 Iron Eagle Inc.                                 Chapter:         11
 XX-XXXXXXX
 PO Box 2601
 Wylie, TX 75098

                                       Debtor.

                                  NOTICE OF EFFECTIVE DATE

       PLEASE TAKE NOTICE that Iron Eagle, Inc. (the “Debtor”) confirmed Debtor’s Second
Amended Plan of Reorganization [Dated June 10, 2024] [Docket Entry No. 112] (“Plan”) by order
entered October 11, 2024 [Docket Entry No. 130] (“Order”).

     PLEASE TAKE FURTHER NOTICE that the Effective Date under the terms of the Plan is
November 28, 2024.


                                                 Respectfully submitted,

 Dated: January 4, 2025                          /s/ Robert T. DeMarco
                                                 DeMarco•Mitchell, PLLC
                                                 Robert T. DeMarco, Texas Bar No. 24014543
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                                                 Dallas, TX 75251
                                                 T        972-991-5591
                                                 F        972-346-6791
                                                 Counsel for Reorganized Debtor

                                   CERTIFICATE OF SERVICE

       The undersigned counsel herby certifies that true and correct copies of the foregoing
pleading and all attachments were served upon all parties listed below in accordance with
applicable rules of bankruptcy procedure on this 4th day of January 2025. Where possible, service
was made electronically via the Court’s ECF noticing system, email or via facsimile transmission
where an email address or facsimile number is set forth below. Where such electronic service
was not possible, service was made via regular first-class mail.
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